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Pillsbury Winthrop Shaw Pittman LLP
31 West 52nd Street | New York, NY 10019-6131 | tel 212.858.1000 | fax 212.858.1500




                                                                                                John A. Pintarelli
                                                                                            tel: +1.212.858.1213
                                                                               john.pintarelli@pillsburylaw.com

October 11, 2023

Via ECF

Honorable David S. Jones
United States Bankruptcy Court
Southern District of New York
One Bowling Green, Courtroom 701
New York, NY 10004-1408


          Re:      In re Ascentra Holdings, Inc. (In Official Liquidation), Case No. 21-11854:
                   Letter Regarding Amended Writ of Summons and Amended Statement of
                   Claim

To the Honorable David S. Jones:

        We represent Graham Robinson and Ivy Chua Suk Lin, the duly appointed joint official
liquidators and foreign representatives (the “Liquidators” or the “Foreign Representatives”) of
Ascentra Holdings, Inc. (“Ascentra”), a company in official liquidation pursuant to a Supervision
Order made by the Grand Court of the Cayman Islands (the “Grand Court”).

         On October 11, 2023, an Amended Writ of Summons and Amended Statement of Claim
(i.e., a complaint) filed by the Liquidators against Ryunosuke Yoshida (“Yoshida”), Shang Peng
Gao Ke, Inc. SEZC, SPGK Pte Ltd. (together, “SPGK”), Growth Today, Inc., and Scuderia Bianco
Pte Ltd. (collectively, the “SPGK Related Entities”) was issued by the Grand Court, pursuant to
which the Liquidators seek to recover, among other things, the Planet Payment Funds for the
benefit of Ascentra. 1

        Shang Peng Gao Ke, Inc. and Growth Today, Inc. were served today at their registered
offices in the Cayman Islands. Harneys Westwood & Riegels, SPGK’s Cayman Islands counsel,
has been notified of the action and has been asked if it will agree to accept service on behalf of
Mr. Yoshida and non-Cayman Islands entities, SPGK Pte Ltd. and Scuderia Bianco Pte Ltd.




1
    A copy of the Amended Writ of Summons and Amended Statement of Claim is attached as Exhibit A.


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        The Amended Statement of Claim alleges multiple claims against Mr. Yoshida, SPGK and
the SPGK Related Entities, including breach of fiduciary duty, unjust enrichment and trust claims.
The lawsuit is a result of the Liquidators’ two-year investigations into claims and causes of action
against Mr. Yoshida, SPGK and the SPGK Related Entities, which were telegraphed to the Court
in the First, Second and Third Status Reports. See ECF Nos. 26, 29 and 34.

        With the commencement of this action, the Foreign Representatives believe that SPGK’s
request for pre-litigation discovery related to the claims that are the subject of the litigation are
inappropriate now that there is pending litigation before the Grand Court, and any discovery should
be directed there. See In re Bennett Funding Group, Inc., 203 B.R. 24, 28 (Bankr. N.D.N.Y. 1996)
(“once an adversary or contested matter has been commenced” then discovery proceeds solely in
that pending proceeding according to its discovery rules); see also In re Enron Corp., 281 B.R.
836, 840 (Bankr. S.D.N.Y. 2002); 9 Collier on Bankruptcy ¶ 2004.01(8) (16th ed. 2023) (citing
cases).

       The Amended Statement of Claim also demonstrates that there is a pending dispute over
ownership of the Planet Payment Funds. Thus, the Foreign Representatives respectfully submit
that SPGK’s motion to terminate the restraint on the Planet Payment Funds [ECF No. 42] should
be denied for this reason.

                                              Respectfully submitted,

                                              /s/ John A. Pintarelli
                                              John A. Pintarelli
                                              Partner




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                                      Exhibit A

                Amended Writ of Summons and Amended Statement of Claim
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   IN THE GRAND COURT OF THE CAYMAN ISLANDS
   FINANCIAL SERVICES DIVISION
                                                                                                     CAUSE NO.: FSD 300 of 2023 (RPJ)
   IN THE MATTER OF THE COMPANIES ACT (2023 REVISION)


   BETWEEN:


                                    ASCENTRA HOLDINGS, INC. (IN OFFICIAL LIQUIDATION)
                                                                                                                                          Plaintiff
                                                                        -and-


                                                            (1) RYUNOSUKE YOSHIDA
                                                     (2) SHANG PENG GAO KE, INC. SEZC
                                                                  (3) SPGK PTE LTD
                                                             (4) GROWTH TODAY INC.
                                                         (5) SCUDERIA BIANCO PTE LTD
                                                                                                                                     Defendants




                                                     AMENDED WRIT OF SUMMONS


   TO:

         1) Ryunosuke Yoshida, of Room 1035, Unit 1001, 10/F, Mira Place Tower A, 132 Nathan Road, Tsim
            Sha Tsui, Hong Kong;


   This Writ was issued by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Campbells LLP,
   Floor 4, Willow House, Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).

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        2) Shang Peng Gao Ke, Inc. SEZC, of Harneys Fiduciary (Cayman) Limited, P.O. Box 10240, 4th Floor,
           Harbour Place, 103 South Church Street, George Town, KY1-1002, McGrath Tonner Corporate
           Services Limited, Genesis Building, 5th Floor, Genesis Close, George Town, PO Box 446, KY1-1106,
           Grand Cayman, Cayman Islands;

        3) SPGK Pte Ltd, of 600 North Bridge Road #05-01 Parkview Square Singapore (188778);

        4) Growth Today Inc., of Harneys Fiduciary (Cayman) Limited, P.O. Box 10240, 4th Floor, Harbour
           Place, 103 South Church Street, George Town, KY1-1002, Grand Cayman, McGrath Tonner
           Corporate Services Limited, Genesis Building, 5th Floor, Genesis Close, PO Box 446, Grand
           Cayman, KY1-1106, Cayman Islands; and

        5) Scuderia Bianco Pte Ltd, of 600 North Bridge Road #05-01 Parkview Square Singapore (188778).


   THIS WRIT OF SUMMONS has been issued against you by the above-named Plaintiffs in respect of the
   claim set out on the next page.

   Within 14 days after the service of this Writ on you, counting the day of service, you must either satisfy
   the claim or return to the Court Office, P.O. Box 495G, George Town, Grand Cayman, the accompanying
   Acknowledgment of Service stating therein whether you intend to contest these proceedings.

   If you fail to satisfy the claim or to return the Acknowledgment within the time stated, or if you return the
   Acknowledgment without stating therein an intention to contest the proceedings, the Plaintiff may
   proceed with the action and judgment may be entered against you forthwith without further notice.


   Issued this 4th day of October 2023.
   Amended this 10th day of October 2023.


   NOTE - This Writ may not be served later than 4 calendar months (or, if leave is required to effect service out of
   the jurisdiction, 6 months) beginning with the date of issue unless renewed by order of the Court.




                                                                    IMPORTANT

   Directions for Acknowledgment of Service are given with the accompanying form.




   This Writ was amended this 10th day of October 2023, pursuant to O. 20 r. 1 of the Grand Court Rules (2023
   Revision).



   This Writ was issued by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Campbells LLP,
   Floor 4, Willow House, Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).

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   IN THE GRAND COURT OF THE CAYMAN ISLANDS
   FINANCIAL SERVICES DIVISION
                                                                                         CAUSE NO.: No. FSD 300 of 2023 (RPJ)
   IN THE MATTER OF THE COMPANIES ACT (2023 REVISION)


   BETWEEN:


                                    ASCENTRA HOLDINGS, INC. (IN OFFICIAL LIQUIDATION)
                                                                                                                                   Plaintiff
                                                                     -and-


                                                         (1) RYUNOSUKE YOSHIDA
                                                  (2) SHANG PENG GAO KE, INC. SEZC
                                                               (3) SPGK PTE LTD
                                                         (4) GROWTH TODAY INC.
                                                     (5) SCUDERIA BIANCO PTE LTD
                                                                                                                              Defendants



                                                 AMENDED STATEMENT OF CLAIM



   A.      PARTIES

   1.      The Plaintiff, Ascentra Holdings, Inc. (in official liquidation) (the “Company”), is an exempted
           company incorporated under the laws of the Cayman Islands on 20 December 2013. It entered
           voluntary liquidation on 1 June 2021 and official liquidation on 17 September 2021.




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   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
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   2.      Between 1 June and 17 September 2021, Graham Robinson (“Mr Robinson”) was the
           Company’s voluntary liquidator. Since 17 September 2017, he and Ivy Chua Suk Lin have acted
           and continue to act as the Company’s joint official liquidators (the “JOLs”).

   3.      The Company holds 100% of the issued shares in HEC International, Ltd (in Official Liquidation)
           (“HEC”). HEC is an exempted company incorporated under the laws of the Cayman Islands on 5
           December 2013. It entered voluntary liquidation on 29 September 2021 and official liquidation
           on 7 December 2021. Between 29 September 2021 and 7 December 2021, Mr Robinson was
           HEC’s voluntary liquidator. Since 7 December 2021, he has been and continues to be HEC’s
           official liquidator.

   4.      Prior to its liquidation, the Company – through its subsidiaries, including HEC – operated a cross-
           border e-commerce business selling beauty and health products and computer software to the
           Asian market through multi-level marketing (the “Business”). In particular, products were sold
           through an online platform to individuals (the “Affiliates”) who had signed up to on-sell them
           to customers based in Asia.

   5.      The First Defendant, Ryunosuke Yoshida (“Mr Yoshida”) was the Company’s director from 31
           December 2013 until 30 March 2018, and again from 18 December 2018 until 17 September
           2021, alternatively, 1 June 2021. He was also HEC’s sole director from 8 December 2017 until
           HEC was placed into official liquidation on 7 December 2021.

   6.      The Second Defendant, Shang Peng Gao Ke, Inc. SEZC, (“SPGK Cayman”) was incorporated on
           14 June 2016 for the purpose of conducting the Company’s Business in the People’s Republic of
           China (the “PRC Business”).

   7.      The Third Defendant, SPGK Pte Ltd, (“SPGK Singapore”) was incorporated on 2 May 2019 and
           is SPGK Cayman’s wholly-owned subsidiary.

   8.      The Fourth Defendant, Growth Today Inc. (“Growth Today”) is the registered owner of SPGK
           Cayman’s entire issued share capital.

   9.      At the time of SPGK Cayman’s incorporation in 2016, the entire issued share capital of Growth
           Today was held by Motohiko Homma (“Mr Homma”). At the time, he was one of the three
           major ultimate beneficial owners of the Company. The other two were Yoshio Matsuura (“Mr
           Matsuura”) and Martin (Marty) Matthews (“Mr Matthews”) (the three collectively referred to
           herein as the “Major Shareholders”.)
                                                                                                                             Page 2 of 19
   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
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   10.     On 15 December 2018, Mr Yoshida acquired Mr Homma’s shareholding in Growth Today for the
           consideration of US$1.00, pursuant to a share and purchase agreement between him and Mr
           Homma.

   11.     The Fifth Defendant, Scuderia Bianco Pte Ltd, (“Scuderia Bianco”) was incorporated by Mr
           Yoshida on the same day as SPGK Singapore; 2 May 2019. Scuderia Bianco provided cash
           management services to the Company and HEC.

   12.     Mr Yoshida is the sole shareholder and a director of Scuderia Bianco.

   B.      BACKGROUND

   B.1. Start of the Business, Plan to IPO and Reorganisation

   13.     Mr Matsuura and Mr Homma entered into business in about 2004, after which Interush Limited,
           a Hong Kong corporation, was incorporated in 2006, although no business was conducted from
           Interush Limited until 2010.

   14.     In 2007, Interush Holdings, Ltd. (“Interush”), a Bermuda company, was incorporated, and
           functioned as the holding company of the business until 2013. Between 2004 and 2013,
           Interush’s ultimate beneficial owners were Mr Matsuura and Mr Homma in equal shares.

   15.     In about January 2010, Mr Matthews became a full-time employee of Interush. He was initially
           a marketing consultant, but was appointed as the Company’s Chief Executive Officer (“CEO”)
           and President from approximately July 2014.

   16.     From around 2011, Mr Matthews, Mr Matsuura and Mr Homma started to plan an initial public
           offering of Interush’s shares on the Hong Kong Stock Exchange. In accordance with that plan:

           16.1 on 20 December 2013, the Company was incorporated 1 with the intention that its shares
                    (as opposed to Interush’s shares) would be offered on the Hong Kong Stock Exchange,
                    and Mr Matthews became its initial director;

           16.2 on 20 December 2013, IR-P Holdings (“IR-P”) (a Cayman Islands exempted company) was
                    incorporated to be an intermediary holding company between the Company and the
                    Major Shareholders;



   1 The Company was incorporated under its former name, Interush Holdings, Inc. The Company changed its name to Ascentra

   Holdings, Inc. on 1 June 2016.
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           16.3 on 31 December 2013, four additional directors were appointed: Mr Yoshida, Ryosuke
                    (Ryan) Kojima, Chris Miner and Akinori Hori. A copy of the Company’s Register of
                    Directors and Officers, from 2013 to date, is appended to this Statement of Claim at
                    Appendix 1; and

           16.4 on 31 December 2013, Mr Matsuura and Mr Homma transferred their entire share capital
                    in Interush to the Company.

           (collectively, the “Reorganisation”).

   17.     On 20 May 2013, Mr Matthews acquired ordinary shares in IR-P. Mr Matsuura and Mr Homma
           became indirect holders of preferred shares in IR-P through their companies, South Asia
           Ventures, Ltd (“SAV”) and New South East Traders, Ltd (“NSET”), respectively. Both SAV and
           NSET are British Virgin Islands companies. On 23 July 2014, Mr Matthews transferred his shares
           in IR-P to INTL Media Holdings, LLC (“INTL”), a Delaware company of which Mr Matthews was
           the sole shareholder at the time.

   18.     On 24 December 2013, Mr Matthews acquired ordinary shares in the Company directly, which
           ordinary shares were subsequently transferred to INTL on 24 July 2014.

   19.     On 31 December 2013, IR-P acquired preferred shares in the Company.

   20.     Since 2021 the shares in INTL have been indirectly held by Marty Matthews and Mari Matthews
           (Mr Matthews’ former spouse) in equal parts.

   21.     Following the Reorganisation, the Company operated the Business with the assistance of its
           subsidiaries, including HEC. A structure chart is appended to this Statement of Claim as
           Appendix 2.

   22.     The main operating subsidiaries at that time, and their respective roles within the Group were
           as follows:

           22.1 HEC: the entity through which most of the Company’s Business was being conducted,
                    together with its branch office, HEC International Ltd, Singapore Branch (“HEC
                    Singapore”);

           22.2 HEC International Co Ltd (a Taiwanese entity); and


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           22.3 iHealthScience LLC, Hong Kong Branch (“iHealthScience”): the entity supplying the
                    physical products for the Business. iHealthScience is a branch office of iHealthScience LLC,
                    a Delaware company which is in turn a subsidiary of HEC.

   B.2. Hong Kong Proceedings and Plan to Carve-Out PRC Business

   23.     On 6 November 2013 Hong Kong’s Commercial Crimes Bureau (“CCB”) raided Interush’s office
           in Hong Kong pursuant to a warrant which alleged a violation of the Pyramid Schemes
           Prohibition Ordinance. Thereafter:

           23.1 In 2014, the Hong Kong authorities alleged that the Company’s intended IPO was
                    unlawful. These allegations resulted in negative publicity about the Company, Mr
                    Matthews and Mr Matsuura;

           23.2 on 31 March 2015, the Hong Kong authorities charged Mr Matthews with offences
                    contrary to the Organised and Serious Crime Ordinance, essentially relating to money
                    laundering (the “Hong Kong Proceedings”). Mr Matsuura was not charged with any
                    offence; and

           23.3 in June 2015, Mr Matthews resigned as CEO and President of the Company. However, Mr
                    Matthews remained a (non-voting) director of the Company, and continued to be
                    involved in its management.

   24.     At the time of the CCB’s raid, the Company (through its subsidiaries) earnt about 80% of its
           revenues through Affiliates resident in the PRC.

   25.     In about August 2015, the Company’s directors were advised that the Business’s multi-level
           marketing method of operating in the PRC contravened PRC law.

   26.     On 21 August 2015, the Company’s board resolved that it would no longer accept new business
           or new applications to become an Affiliate in the PRC until such time as a legally compliant
           business model could be implemented. The board further resolved to restructure the Company
           and rebrand it to preserve its business and to insulate it from the adverse effects of the Hong
           Kong Proceedings.

   27.     On 30 May 2016, in an attempt to rid itself of the negative publicity received, the Company’s
           board resolved to rebrand the Company’s non-PRC business under the new name, Ascentra,


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           and to incorporate a new company to conduct the Company’s PRC Business. The proposed new
           company was referred to internally as “Shang Peng”.

   B.3. SPGK Cayman’s Incorporation and Subsequent Negotiations

   28.     In accordance with the board’s resolution on 30 May 2016:

           28.1 the Company’s name was changed from Interush Holdings, Inc to Ascentra Holdings, Inc
                    on 1 June 2016; and

           28.2 on 14 June 2016, SPGK Cayman was incorporated, and Mr Homma became its sole
                    director.

   29.     In June 2016, Mr Homma indirectly held about 23% of the Company’s issued share capital.

   30.     At the time of SPGK Cayman’s incorporation, the Major Shareholders’ intention was that, in
           exchange for conducting the PRC Business, SPGK Cayman (which was indirectly wholly owned
           by Mr Homma) would (i) account for 77% of the income it generated to the Company; and (ii)
           Mr Homma would relinquish his (indirect) ownership stake in the Company (the
           “Arrangement”).

   31.     The Arrangement’s purpose was to maintain the economic benefit to all three Major
           Shareholders of the Company continuing to operate its PRC Business, and the existing
           management structure and control, but to do so under separate legal ownership.

   32.     Some of the key terms of the Arrangement were memorialized in a memorandum of
           understanding dated 15 November 2016 (the “MOU”). In particular, clause 3 recorded the
           Major Shareholders’ intention that SPGK Cayman and Ascentra would enter into an Exclusive
           Distribution Agreement which would confer rights on SPGK Cayman to use the Company’s PRC
           Affiliates list (the “PRC Affiliates List”), to sell its products and software, and receive support
           from the Company and its subsidiaries. At the same time, the Company would retain all of its
           liabilities.

   33.     By an Exclusive International Distributor Agreement dated 1 October 2016, Ascentra and SPGK
           Cayman agreed that SPGK Cayman would become the exclusive distributor of certain of
           Ascentra’s products in the PRC. The agreement was stated to be “in exchange for the Shares”,
           which referred to Mr Homma’s proposed transfer of his shares in IR-P to the Company (for
           cancellation), as well as SPGK Cayman’s compliance with the (other) conditions set out in the
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   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
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           agreement. The agreement provided for a monthly “True-Up” on the basis of SPGK Cayman’s
           and the Company’s respective Operating Income Before Taxes, with 77% of the income to be
           distributed to Ascentra. This agreement was signed by on behalf of SPGK Cayman, but was not
           signed by Ascentra.

   34.     During a period of negotiations between the Major Shareholders from 2016 until about March
           2018, a number of documents were drawn up to give effect to the Arrangement: a holders’
           agreement in respect of SPGK Cayman’s shareholding, a holder’s agreement in respect of the
           Company’s and IR-P’s shareholdings, a share transfer agreement in respect of Mr Homma’s
           shareholding in IR-P, an exclusive distribution agreement and a share cancellation agreement
           (collectively, the “Draft Agreements”).

   35.     The overriding purpose of the Draft Agreements was to ensure that the management control of
           the Company and the economic interests of the Majority Shareholders that existed prior to the
           incorporation of SPGK Cayman would be maintained in the day-to-day control of the Company,
           SPGK Cayman and SPGK Cayman’s affiliates (the “SPGK Group”), and for Mr Homma’s indirect
           shareholding in IR-P to be transferred to the Company for cancellation.

   36.     The Draft Agreements were never executed.

   37.     However, the following agreements were executed:

           37.1 a Professional Service Agreement dated 1 October 2016 and signed by SPGK Cayman and
                    HEC 2 on 17 February 2017, by which SPGK Cayman and HEC agreed that HEC would
                    provide SPGK Cayman with corporate management services (including: overseeing
                    operations, management, executive, human resources, legal, compliance, contract
                    management functions, product development, manufacturing, delivery and fulfilment
                    support services, administrative services and management of the accounting
                    department), bookkeeping, accounting, tax and finance support services, promotional
                    and product marketing services, IT Business System support services (i.e. all back-office
                    IT systems) and technical support services in relation to e-commerce, web hosting and
                    websites. The services were to be billed by HEC on a monthly basis at cost, without
                    markup;




   2 The Customer Services Support Agreement was in HEC’s previous name: Radial IT Systems, Ltd.

                                                                                                                             Page 7 of 19
   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
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           37.2 a Product Supply Agreement dated 1 October 2016 and signed by iHealthScience and
                    SPGK Cayman on 17 and 28 February 2017 respectively, by which SPGK Cayman and
                    iHealthScience agreed that iHealthScience would sell and SPGK Cayman would buy
                    products at market price (to be determined by iHealthScience in good faith); and

           37.3 a Customer Services Support Agreement dated 1 October 2016 and signed by SPGK
                    Cayman and HEC 3 on 24 February 2017, by which SPGK Cayman and HEC agreed that HEC
                    would provide SPGK Cayman with customer support services and promotional and
                    product marketing services in support of the PRC Business and the Affiliates. The services
                    were to be billed on a monthly basis at cost, without markup.

   38.     Thereafter, SPGK Cayman formally operated the Business in the PRC on the Company’s behalf.
           SPGK Cayman did not employ its own staff and neither received revenue nor paid expenses.
           Instead, the Company’s PRC Business continued to be conducted by the same employees and
           services companies as previously. The PRC Business also continued to be operated by the same
           management team as it had been previously. As to this, Mr Matsuura continued to participate
           in the day-to-day management of the PRC Business, and the Company’s Chief Financial Officer
           (“CFO”), Mr Theodore Sanders (“Mr Sanders”), was appointed a director of SPGK Cayman on 1
           February 2017.

   39.     In May 2017, Mr Matthews was acquitted of all charges in the Hong Kong Proceedings, and the
           prosecuting authorities were ordered to pay his costs of the proceedings.

   40.     On 3 April 2018, SPGK Cayman, Mr Homma and the Company executed a Cancellation
           Agreement and Acknowledgement (the “Cancellation Agreement”). The Cancellation
           Agreement included provisions that:

           40.1 confirmed that the MOU was never legally effected, was not legally binding and that no
                    action was taken to effect any of the required actions described therein;

           40.2 confirmed that each and every oral and written agreement related to the matters in the
                    MOU were and are without force and effect; and

           40.3 required Mr Homma and SPGK Cayman to irrevocably cancel, sell, convey, assign, transfer
                    and deliver all assets and monies of SPGK Cayman to the Company, including but not


   3 In its former name of Radial IT Systems, Ltd.

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                    limited to all intellectual property (including the SPGK Cayman proprietary brand names),
                    inventory, customer lists, monies, and accounts receivable, free and clear of all charges,
                    claims, interests, conditions, equitable interests, liens, options, pledges, security
                    interests, rights of first refusal, encumbrances or restrictions of any kind.

   41.     No steps were taken to give effect to the Cancellation Agreement.

   B.4. Fall-Out between the Major Shareholders

   42.     Following the commencement of the Hong Kong Proceedings and Mr Matthews’ subsequent
           acquittal, the relationship between the Major Shareholders deteriorated. The disputes were
           mostly concerned with the management of the Company and Mr Matthews’ role in it.

   43.     The dispute continued after Mr Matthews was acquitted of any wrongdoing in the Hong Kong
           Proceedings. In 2018, Mr Matthews briefly sought to (and did) gain control of the Company by
           removing Messrs. Homma and Matsuura as directors of IR-P between 23 Feburary 2018 and 15
           May 2018, and using his control of IR-P to remove Messrs. Homma, Matsuura and Yoshida as
           directors of the Company on 30 March 2018.

   44.     Shortly thereafter, by a share and purchase agreement dated 15 December 2018, Mr Homma
           agreed to transfer all of the issued shares in Growth Today to Mr Yoshida in exchange for US$1.

   45.     On 18 December 2018, Mr Homma resigned as a director of the Company and of IR-P, and Mr
           Yoshida was reappointed as a director of the Company, and appointed as a director of IR-P.

   46.      On 15 May 2019, Mr Yoshida became a director of SPGK Cayman.

   47.     On 13 August 2019, IR-P entered voluntary liquidation and David Lloyd (“Mr Lloyd”) was
           appointed as its voluntary liquidator. Mr Lloyd remained IR-P’s voluntary liquidator until 28 May
           2021, when he was replaced by Mr Robinson pursuant to a resolution of IR-P’s shareholders.
           Mr Robinson was IR-P’s voluntary liquidator from 28 May 2021 until 29 March 2022, at which
           point he was appointed as IR-P’s official liquidator pursuant to a supervision order.

   48.     In August 2020, NSET (a company legally owned by Mr Homma) transferred its shares in IR-P to
           Lequios Holdings Ltd (“Lequios”) (a British Virgin Islands company legally owned by Mr Yoshida).




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   49.     The Company’s share capital remains directly owned by IR-P, INTL and a group of individuals:
           Ryosuke (Ryan) Kojima, Jeffrey Boshears and Alex Oliva. The Register of Members of IR-P and
           the Company are appended as Appendix 3.

   50.     On 1 June 2021, the Company entered voluntary liquidation and Mr Robinson was appointed as
           its voluntary liquidator.

   51.     Pursuant to a supervision order dated 17 September 2021 (the “Supervision Order”), the
           Company entered official liquidation and the JOLs were appointed as its joint official liquidators.

   52.     On 29 September 2021, HEC entered voluntary liquidation and Mr Robinson was appointed as
           its voluntary liquidator.

   53.     Pursuant to a supervision order dated 7 December 2021, HEC entered official liquidation and
           Mr Robinson was appointed as its official liquidator.

   54.     On 9 January 2023 Mr Yoshida wrote to the registered office of HEC and purported to resign as
           a director of HEC and as director of HEC Singapore.

   C.      CASH MANAGEMENT

   55.     From late 2016, or alternatively from early 2017, Mr Sanders acted as CFO of the Company.

   56.     Two companies wholly owned by Mr Sanders, Asian Offshore Services (“AOS”) and SPGK
           International Ltd (“SPGK International”) (together referred to as the “Sanders Companies”),
           were used as pass-through vehicles for receipts and payments for the Business.

   57.     SPGK International and AOS provided cash management services to the Company and HEC. In
           particular, SPGK International and AOS received revenues and paid liabilities on the Company’s
           behalf, and remitted revenue to HEC Singapore’s bank accounts with United Overseas Bank
           (“UOB”) to enable HEC to discharge the liabilities of the Ascentra group of companies.

   58.     As regards revenue received by SPGK International, the Company’s Affiliates used credit cards
           to make payments for the Company’s products. Those payments were processed by Planet
           Payment Solutions LLC (“Planet Payment”) pursuant to terms of a contract between Planet
           Payment and SPGK International dated 12 October 2018, and remitted to SPGK International.

   59.     In early 2019, Mr Yoshida and Mr Matsuura decided to remove the Sanders Companies from
           their involvement in the Business, at least insofar as it related to Affiliates resident in the PRC.
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   60.     As a result of that decision, both SPGK Singapore and Scuderia Bianco were incorporated on 2
           May 2019. The purpose of both companies was to provide cash management services in relation
           to the PRC Business in place of SPGK International. As to that:

           60.1 in September 2019, Scuderia Bianco opened a bank account with Shanghai Commercial
                    and Savings Bank in Taiwan (“SCSB”), and SPGK Singapore opened a bank account with
                    DBS Bank in Singapore;

           60.2 by a Business Services Agreement dated 1 June 2019, the Company and Scuderia Bianco
                    agreed that Scuderia Bianco would provide marketing, business-consulting and cash
                    management services to the Company and its subsidiaries, including HEC;

           60.3 by a Business Services Agreement dated 1 December 2019, SPGK Singapore and Scuderia
                    Bianco agreed that Scuderia Bianco would provide marketing, business-consulting and
                    cash management services to SPGK Singapore; and

           60.4 SPGK Singapore entered into a credit card processing contract (referred to as a Merchant
                    Services Agreement) with Planet Payment in place of SPGK International on 29
                    September 2019 (the “PP Contract”).

   61.     As at the date on which the Company’s liquidation commenced:

           61.1 funds totalling approximately US$163 million were held by SCSB in account no
                    27108000458517 in the name of SPGK Singapore (the “SCSB Funds”);

           61.2 funds totalling approximately US$15 million were held by SCSB in account no
                    27108000459953 in the name of Scuderia Bianco (the “SB Funds”);

           61.3 funds totalling approximately US$24 million (the “UOB Funds”) were held in HEC’s US$
                    account numbered 4519037313 with UOB (the “UOB Account”); and

           61.4 funds totalling approximately US$71 million were held in an account with BMO Harris
                    Bank (account number 374-533-8) in the name of Planet Payment (the “PP Funds”)
                    pursuant to the terms of the PP Contract.




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   D.      TRUST CLAIMS

   62.     Any interest held by SPGK Cayman, SPGK Singapore and Scuderia Bianco in the PP Funds, the
           SCSB Funds and the SB Funds (together, the “Funds”) is held by said entities on trust for the
           Company:

           62.1 In conducting the PRC Business and the cash management on its behalf, SPGK Cayman,
                    SPGK Singapore and Scuderia Bianco have been acting as the Company’s agent.

           62.2 Further or alternatively, in their relationships with external parties, the Company was the
                    undisclosed principal of SPGK Cayman, SPGK Singapore and Scuderia Bianco.

           62.3 Further, in conducting the PRC Business and cash management services on its behalf,
                    SPGK Cayman, SPGK Singapore and Scuderia Bianco have been acting as the Company’s
                    fiduciary.

           62.4 Further or alternatively, SPGK Cayman held the various assets, including the PRC Affiliates
                    List, that enabled it to conduct the PRC Business on trust for the Company.

   63.     These relationships can be inferred from the following:

           63.1 The assets enabling the conduct of the PRC Business were transferred at a time when the
                    Major Shareholders were still negotiating the scope, terms and nature of the future
                    relationship between the Company and SPGK Cayman, as well as between themselves.

           63.2 At the time of the transfers, the Major Shareholders intended the PRC Business to
                    continue to be conducted for the benefit of the Company. This can be inferred from the
                    following facts and matters:

                   63.2.1 the fact that it would be commercially absurd for Messrs Matsuura and Matthews
                              to transfer by far the most valuable portion of the Business for no or minimal
                              consideration to SPGK Cayman;

                   63.2.2 the fact that SPGK Cayman continued to benefit for the various services
                              arrangements and employee support and that the Company continued to incur
                              and discharge all liabilities;




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                   63.2.3 the fact that Mr Yoshida had no interest (legal or otherwise) in SPGK Cayman
                              between 2016 and 2018 and from the fact that Mr Homma sold the shares in
                              Growth Today to Mr Yoshida for the nominal sum of US$1;

                   63.2.4 Mr Matsuura’s agreement that the shares in Growth Today be transferred by Mr
                              Homma to Mr Yoshida, in circumstances where the PRC Business constituted the
                              most valuable part of the group’s Business; and

                   63.2.5 the common management structure between SPGK Cayman and Ascentra.
                              Without prejudice to the generality of the foregoing, Mr Matsuura was involved
                              in the management of SPGK Cayman’s business, SPGK Singapore’s business and
                              the Companys’ business, and Mr Yoshida, SPGK Cayman, SPGK Singapore and
                              Scuderia Bianco acted on Mr Matsuura’s instructions.

   64.     Furthermore, a resulting trust is presumed in favour of the Company from the lack of
           consideration.

   65.     In particular, the introduction of SPGK Singapore and Scuderia Bianco to facilitate cash
           management in 2019 did not change the essential relationship between the Company on the
           one hand and SPGK Cayman on the other:

           65.1 If SPGK Cayman was the Company’s agent, fiduciary and trustee, then SPGK Singapore
                    and Scuderia Bianco either acted as agent and fiduciary on SPGK Cayman’s behalf or on
                    the Company’s behalf.

           65.2 If SPGK Singapore and Scuderia Bianco did not act as agent or fiduciary, then they are
                    nevertheless liable as if they were a trustee on the basis that they received the Company’s
                    assets on notice and without providing good consideration and not in good faith.

   66.     Further, SPGK Singapore and Scuderia Bianco were aware of the circumstances when SPGK
           Singapore entered into the PP Contract, and when they received monies from Plant Payment
           (which monies make up the SCSB Funds and SB Funds), because Mr Yoshida’s state of mind is
           to be attributed to them and he knew that SPGK Cayman was operating the PRC Business for
           and on behalf of the Company.

   67.     Further:


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           67.1 Growth Today holds its shareholding in SPGK Cayman on trust for the Company,
                    alternatively Mr Yoshida holds his shareholding in Growth Today on trust for the
                    Company. This can be inferred from:

                   67.1.1 the facts and matters set out in paragraph 63 above;

                   67.1.2 the circumstances surrounding the incorporation of SPGK Cayman, in particular
                              the Major Shareholders’ shared intention to continue to conduct the PRC Business
                              for the benefit of the Company;

                   67.1.3 the purported transfer of the shares in Growth Today to Mr Yoshida for US$1;

                   67.1.4 Mr Homma’s email dated 5 February 2019 to Mr Matsuura, Mr Matthews and
                              Masaki Nakano, in which he stated that the sales proceeds from the sale of his
                              shares in Growth Today “will be provided to Ascentra”;

                   67.1.5 Mr Yoshida’s request to Mr Matsuura in early 2020 that he be permitted to “step
                              down as leader of SPGK” as recorded in his his email to Mr Matsuura dated 31
                              December 2020;

                   67.1.6 a draft written resolution of the directors of SPGK Cayman providing for the
                              transfer of one share in the capital of SPGK Cayman, being the total issued share
                              capital of that company, from Growth Today to Mr Matsuura for the
                              consideration of US$1; and

                   67.1.7 Mr Yoshida’s statement in his email to Mr Matsuura dated 31 December 2020
                              that his “appointment as President of HEC and SPGK was triggered by Mr
                              Matsuura’s request to me” and his request in the same email to Mr Matsuura that
                              he receive a “severance pay” equivalent to 20% of “SPGK’s after-tax profit for
                              FY2020”.

           67.2 SPGK Singapore and Scuderia Bianco are SPGK Cayman’s agents, fiduciaries and trustees.
                    The relationship of agent, fiduciary or trustee between SPGK Singapore and Scuderia
                    Bianco and SPGK Cayman arises from the arrangements entered into between them, and
                    can be inferred from the surrounding circumstances, in particular their conduct of cash
                    management in relation to the PRC Business.


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   E.      UNJUST ENRICHMENT

   68.     In the alternative, SPGK Cayman, SPGK Singapore and Scuderia Bianco have been unjustly
           enriched by the assets that enabled the operation of the PRC Business which they received in
           anticipation of the Draft Agreements that, in the event, were not entered into.

   69.     The Company has a proprietary entitlement to the sums that SPGK Cayman and SPGK Singapore
           and Scuderia Bianco have generated.

   70.     In the alternative, SPGK Cayman, SPGK Singapore and Scuderia Bianco are liable to account for
           the profits they made or, in the further alternative, liable to pay to the Company the value of
           the benefit they received, i.e. US$273 million.

   71.     In the further alternative, SPGK Cayman is liable to account for 77% of its income to the
           Company i.e. US$210,210,000, on the basis that it was the Majority Shareholders’ intention
           that 77% of SPGK Cayman’s operating income would be reimbursed to Ascentra and Mr
           Homma’s (now Mr Yoshida’s) indirect shareholding in the Company would be forfeited.

   F.      BREACH OF DUTY AND KNOWING RECEIPT

   72.     Further or alternatively to the relief claimed above, the Company seeks personal relief against
           Mr Yosida for breach of duty and proprietary and personal relief against SPGK Cayman, Scuderia
           Bianco and SPGK Singapore for knowing receipt of trust property.

   73.     Mr Yoshida was a director of the Company from 31 December 2013 until 30 March 2018 and
           again from 18 December 2018 until 17 September 2021, alternatively, 1 June 2021.

   74.     At all material times prior to 1 June 2021 when the Company entered voluntary liquidation, Mr
           Yoshida owed the Company fiduciary duties at common law and/or in equity, including duties
           (the “General Duties”):

           74.1 to act in good faith and in the best interests of the Company;

           74.2 to exercise his powers only for proper purposes and not for any collateral purpose;




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           74.3 not to misappropriate, misapply, divert or misuse the Company’s funds, assets or
                opportunities;

           74.4 to exercise independent judgment; and

           74.5 to avoid situations in which he had, or could have, a direct or indirect interest that
                conflicted, or might conflict, with the interests of the company.

   75.     Mr Yoshida continued to owe the Company the General Duties (i) after the Company entered
           voluntary liquidation and (ii) after the Supervision Order was made.

   76.     Further or alternatively, Mr Yoshida owed a fiduciary duty to the Company, alternatively he was
           a constructive trustee liable to account to the Company as if he owed such a fiduciary duty,
           after the commencement of the voluntary liquidation and/or after the Supervision Order was
           made in respect of:

           76.1      any property of the Company that remained in his possession or under his control;

           76.2 any property of the Company that was in the possession of or under the control of a
                    corporate entity over which he was able to exercise control, including SPGK Cayman,
                    SPGK Singapore and Scuderia Bianco;

           76.3 any property of the Company in respect of which he had otherwise taken stewardship
                    either directly or indirectly; and/or

           76.4 any property of the Company in respect of which he had asserted a beneficial interest
                    adverse to the rights of the Company.

   77.     Further or alternatively, at all times following the voluntary liquidation of the Company, Mr
           Yoshida owed fiduciary duties or a duty under common law to the Company to account to the
           Company for (i) his stewardship of the Company and its assets prior to the commencement of
           the voluntary liquidation; and (ii) his stewardship of any assets that remained, directly or
           indirectly, in his possession, custody or control and duty to deliver up and/or cause to be
           delivered up such assets to the Company.

   78.     In breach of the General Duties and/or in breach of the duties pleaded in paragraphs 74, 75
           and/or 75 above, Mr Yoshida:




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           78.1 preferred his interests and/or the interests of SPGK Cayman, SPGK Singapore and
                    Scuderia Bianco over the interests of the Company;

           78.2 asserted that the Funds were beneficially owned by SPGK Cayman and/or SPGK
                    Singapore;

           78.3 failed and/or refused to deliver up and/or procure the delivery up of the SCSB Funds to
                    the Company or the JOLs;

           78.4 failed and/or refused to deliver up and/or procure the delivery up of the SB Funds to the
                    Company or the JOLs; and/or

           78.5 failed and/or refused to direct or cause SPGK Cayman and/or SPGK Singapore to direct
                    Plant Payment to release the PP Funds to the Company and the JOLs.

   79.     As a consequence of Mr Yoshida’s breaches of duty as aforesaid, the Company has suffered loss
           in the total amount of the SB Funds, the SCSB Funds and the PP Funds. Mr Yoshida is accordingly
           liable to pay the Company equitable compensation in the amount of US$273 million.

   80.     Further or alternatively, Mr Yosida is liable to account to the Company as a fiduciary and/or as
           constructive trustee for the SB Funds, the SCSB Funds and the PP Funds.

   81.     Further or alternatively, SPGK Cayman and/or Scuderia Bianco and/or SPGK Singapore have
           received trust property which belongs to the Company namely, the SB Funds and the SCSB
           Funds. None of these entities were bona fide purchasers for value. Further or alternatively, it
           would be unconscionable for these entities to retain a beneficial interest in the Funds. They
           were aware of the circumstances when they received the SCSB Funds and the SB Funds, and
           when SPGK Singapore replaced SPGK International as the contracting party with Planet
           Payment, because Mr Yoshida’s state of mind is to be attributed to them and he knew that SPGK
           Cayman was operating the PRC Business for and on behalf of the Company.

   82.     Accordingly, the Company seeks and is entitled to the following relief:

           82.1 An order that SPGK Singapore deliver up the SCSB Funds to the Company.

           82.2 An order that Scuderia Bianco deliver up the SB Funds to the Company.




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           82.3 An order that Mr Yoshida and SPGK Cayman direct SPGK Singapore to deliver up the SCSB
                    Funds to the Company and direct Scuderia Bianco to deliver up the SB Funds to the
                    Company.

           82.4 An order that Mr Yoshida, SPGK Cayman and SPGK Singapore direct Plant Payment to pay
                    the PP Funds to the Company.

           82.5 In the alternative to the restoration of the Funds, an order that (i) Mr Yoshida pay, or (ii)
                    Mr Yoshida, Scuderia Bianco, SPGK Cayman and SPGK International pay, the Company an
                    amount equivalent to the Funds, together with interest on said amount at such rate and
                    in such amounts as the Court thinks fit.

           82.6 An order that Mr Yoshida, SPGK Cayman, SPGK Singapore and Scuderia Bianco account
                    to the Company for all monies received by each of them from SPGK International and
                    Plant Payment.

           82.7 An order that (i) Mr Yoshida, or (ii) Mr Yoshida, SPGK Cayman, SPGK Singapore and
                    Scuderia Bianco pay all monies held to have been received by them and all profits held to
                    have been made by them on the taking of that account, together with interest on said
                    amount at such rate and in such amounts as the Court thinks fit.

           82.8 Such further or other relief as the Court thinks fit.




           AND THE PLAINTIFF CLAIMS:


   1.      A declaration that SPGK Singapore and Scuderia Bianco hold the SCSB Funds and the SB Funds
           (respectively) on trust for the Company.

   2.      A declaration that SPGK Singapore’s interest in and rights in respect of the PP Funds are held on
           trust for the Company.

   3.      An order that Mr Yoshida, SPGK Singapore, and SPGK Cayman direct Planet Payment to transfer
           the PP Funds, alternatively 77% of the PP Funds, to the Company.

   4.      An order that SPGK Singapore deliver up the SCSB Funds, alternatively 77% of the SCSB Funds,
           to the Company.



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   5.      An order that Scuderia Bianco deliver up the SB Funds, alternatively 77% of the SB Funds, to the
           Company.

   6.      An order that Mr Yoshida and SPGK Cayman direct SPGK Singapore to deliver up the SCSB Funds,
           alternatively 77% of the SCSB Funds, to the Company.

   7.      An order that Mr Yoshida directs Scuderia Bianco to deliver up the SB Funds, alternatively 77%
           of the SB Funds, to the Company

   8.      An order that Mr Yoshida effects the transfers of the PP Funds, the SCSB Funds and the SB Funds,
           alternatively 77% of said Funds, to the Company by SPGK Cayman, SPGK Singapore and Scuderia
           Bianco (respectively).

   9.      In the alternative to the restoration of the Funds, an order that (i) Mr Yoshida pay, or (ii) Mr
           Yoshida, Scuderia Bianco, SPGK Cayman, and SPGK International, do pay the Company an
           amount equivalent to the Funds or such other amount as the Court thinks fit, together with
           interest on said amount at such rate and in such amounts as the Court thinks fit.

   10.     An order that SPGK Cayman, SPGK Singapore and Scuderia Bianco account for their profits to
           the Company.

   11.     An order that Mr Yoshida, SPGK Cayman, SPGK Singapore and Scuderia Bianco account to the
           Company for all monies received by each of them from SPGK International and Planet Payment.

   12.     An order that (i) Mr Yoshida, or (ii) Mr Yoshida, SPGK Cayman, SPGK Singapore and Scuderia
           Bianco pay to the Company all monies held to have been received by them and all profits held
           to have been made by them on the taking of such accounts, together with interest on said
           amount at such rate and in such amounts as the Court thinks fit.

   13.     Further or alternatively:

                   a. A declaration that Growth Today holds its shareholding in SPGK Cayman on trust for
                         the Company, and that SPGK Singapore and Scuderia Bianco are SPGK Cayman’s
                         agents, fiduciaries and trustees.

                   b. An order that Growth Today transfers its shareholding in SPGK Cayman to the
                         Company.

                   c. An order that Mr Yoshida effects the transfer of Growth Today’s shareholding to the
                         Company.

   14.     In the alternative to the relief claimed above, US$273 million in restitution.

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   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).
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   15.     Interest whether or not compounded, on all sums found to be due to the Company at such rates
           as the Court thinks fit pursuant to the Court’s equitable jurisdiction and/or section 34 of the
           Judicature Act (2021 Revision).

   16.     Such further or other relief as may be just.

   17.     Costs.




                                                                                                                        CAMPBELLS LLP
                                                                                                                         4 October 2023
                                                                                                         Amended 10 October 2023




   Amended this 10th day of October 2023, pursuant to O. 20 r. 3 of the Grand Court Rules (2023 Revision).




   This Writ was issued by Ascentra Holdings, Inc. (in Official Liquidation) whose address for service is Floor 4, Willow House,
   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GXC/NLI/KXL).



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   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).
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                         APPENDIX 1 – COMPANY’S REGISTER OF DIRECTORS AND OFFICERS




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   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).
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                                                 APPENDIX 2 – STRUCTURE CHART




                                                                                                                            Page 22 of 19
   Filed by Campbells LLP, attorneys for Ascentra Holdings, Inc. (in Official Liquidation), whose address for service is Floor 4, Willow House,
   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).
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Ascentra Group Structure
                                                                                                                                                                                                     Martin Matthews        Mari Matthews
                                                                              Ryunosuke Yoshida (100%)                                                      Yoshio Matsuura (100%)
                                                                                                                                                                                                          (50%)                 (50%)
                                                                                                                                                                                                                                                                       Kojima 400,000 o/s
                                                                                                                                                                                                                                                                     Boshears 350,000 o/s
                                                                                                                                                                                                                                                                        Oliva 100,000 o/s
                                                                                                                 Lequios Holdings                          South Asia Venture Ltd.                      INTL Media Holdings, LLC
                                                        Scuderia Bianco Ltd.                                                                                                                                                                        Management and Related Parties
                                                                                                                     (B.V.I.)                                     (B.V.I.)                                    (Delaware)
                                                            (Singapore)
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                                                                                                                  39.28%                                        39.28%                                       21.44%
                                                                                Growth Today Inc.
                                          2023-10-11




                                                                                                                                                                                                                                                                                   2023-10-11
                                                                                (Cayman Islands)
                                                                                                                                                              IR-P Holdings, Inc
                                                                                                                                                              (Cayman Islands)
                                                                                                                                                                                          *1*
                                                                                                                                                                                                                                                                          10.86%
                                                                        Shang Peng Gao Ke, Inc. SEZC.                                                                                                                       30.64%
                                                                                                                                                                           58.50%
                                                                              (Cayman Islands)
                                                                                                                                                                                                    Ascentra Holdings, Inc
                                                                                                                                                                                                      (Cayman Islands)
                                                            Shang Peng Gao Ke, LLC.               SPGK Pte. Ltd.                                                                                                                   *2*
                                                               (Cayman Islands)
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                                                                                                   (Singapore)                                                                                                    (fka Interush Holdings, Inc.)
                                                                     Closed
                                                                                                                                                                                   Interush Limited
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                                                                                                                                                                                                                                                                                   Page 27 of 33
                                                                                                                             HEC International Co., Ltd.                                                                                               Interush (Singapore) Pte. Ltd.
                                                                                     Ted Sanders                                     (Taiwan)                                        (Hong Kong)                                                                (Singapore)
                                                                                                                                                              *5*                        Inactive                                                                                                  *4*
                                                                                                                             (fka Interush International Co., Ltd.)
Doc 77




                                                                                                                                                                       HEC International, Ltd.
                                                              Asian Offshore Services                   SPGK International                                                                                               HEC International, Ltd.
                                                                                                                                                                        Singapore Branch
                                                                 (Cayman Islands)                          (California)                                                                                                    (Cayman Islands)
                                                                                                                                                                           (Singapore)                *6*                                            *3*
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                                                                                                                                                             (fka Interush International, LLC Singapore Branch)                          (fka Ascentra Technology Ltd.)
                                                                                                                                                             (fka HEC International, LLC Singapore Branch)                               (fka Interush Technology Ltd.)
                                                                                                                                                             (fka Radial IT Systems, Ltd. Singapore Branch)                              (fka Radial IT Systems, Ltd.)
  AOS Property Ventures Inc.                                                              HEC International LLC
         (California)                                                                          (Delaware)                                                             iHealthScience, LLC
                                                                                                                                                                                                                           iHealthScience, LLC
                                      FSD2023-0300




                                                                                                                                                                                                                                                                                   FSD2023-0300
                                                                                                                                                                       Hong Kong Branch
                                                                                                                                                                                                                               (Delaware)
 (fka HEC Global Inc.)                                                                   (fka Interush International, LLC)                                               (Hong Kong)
 (fka Interush Inc.)
                                                                                                                                                             (fka Interush Media, LLC)                                 (fka Interush Media, LLC – Hong Kong Branch)
                                                                                                                                     ***NB #1-6 on next page***
                                                            Notes:
                                                            *1. IR-P Holdings Inc.                     – in Voluntary Liquidation as of 28 May 2021
                                                                                                       – in Official Liquidation as of 29 March 2022
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                                                            *2. Ascentra Holdings Inc.                 – in Voluntary Liquidation as of 1 June 2021
                                          2023-10-11




                                                                                                                                                               2023-10-11
                                                                                                       – in Official Liquidation as of 17 September 2021
                                                            *3. HEC International Ltd.                 – in Voluntary Liquidation as of 27 September 2021
                                                                                                       – in Official Liquidation as of 7 December 2021
                                                            *4. Interush Singapore                     – dissolved as of 3 January 2023
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                                                            *5. HEC International Co., Ltd.(Taiwan)    – in Liquidation as of 31 March 2023
                                                            *6. HEC International, Ltd. Singapore Branch – ceased to carry on business as of 7 December 2021
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                          APPENDIX 3 - REGISTER OF MEMBERS OF IR-P AND THE COMPANY




                                                                                                                            Page 23 of 19
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   Cricket Square, George Town, Grand Cayman, KY1-9010, Cayman Islands (GCX/NLI/KXL).
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                                                                                                                     REGISTER OF MEMBERS OF
                                                                                                          IR-P HOLDINGS, INC. (IN VOLUNTARY LIQUIDATION)
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                              Company Information                                                    Share Capital
                                   Co. Registration No: 283718                                                                                                                  Number of Shares                                        Number of Shares
                                                                                                                  Class               Currency              Capital                                         Nominal Value per Share
                                                                                                                                                                                  Authorized                                                Issued
                                   Registered Office: c/o Bell Rock Corporate Services
                                                                                                     Ordinary                           USD                    46,400.00                    46,400,000                       0.001                 982,000
                                   Limited, 2454 Centennial Towers, West Bay Road, West
                                   Bay, Grand Cayman KY1-1303, Cayman Islands
                                                                                                     Preferred                          USD                     3,600.00                        3,600,000                    0.001               3,600,000
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                                                                                                                                                                                                                                                           Page 30 of 33
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                              Register of Members
                                           Certificate                                  Date Entered as      Date Ceased to                                                                          Amount Paid                        Balance held
                                                         Name and Address                                                                                    Notes
                                            Number                                         Member             be a Member
                                              0          Mourant Ozannes Cayman        20 Dec 2013               24 Dec 2013   20 Dec 2013: Allotment of 1.0 Ordinary Share(s) for USD0.001 /        Fully Paid                  0.00
                                                         Nominees Limited                                                      share to Mourant Ozannes Cayman Nominees Limited
                                                         c/o Mourant Ozannes
                                                         Corporate Services (Cayman)                                           24 Dec 2013: Transfer of 1.0 Ordinary share(s) from Mourant
                                                         Limited, 94 Solaris Avenue,                                           Ozannes Cayman Nominees Limited to Mr Martin J Matthews for
                                                         Camana Bay, PO Box 1348,                                              the total consideration of USD0.001
                                                         Grand Cayman KY1-1108,
                                                         Cayman Islands
                                              0          Martin J Matthews             24 Dec 2013               23 Jul 2014   24 Dec 2013: Transfer of 1.0 Ordinary share(s) from Mourant           Fully Paid                  0.00
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                                                         479 Morning Canyon Rd,                                                Ozannes Cayman Nominees Limited to Mr Martin J Matthews for
                                                         Corona DL Mar, California                                             the total consideration of USD0.001
                                                         92625, United States
                                                                                                                               24 Dec 2013: Allotment of 981999.0 Ordinary share(s) for
                                                                                                                               USD0.001 / share to Mr Martin J Matthews
21-11854-dsj




                                                                                                                               23 Jul 2014: transfer of 982000.0 Ordinary share(s) from Mr Martin
                                                                                                                               J Matthews to INTL Media Holdings, LLC for the total consideration
                           FSD2023-0300




                                                                                                                                                                                                                                                           FSD2023-0300
                                                                                                                               of USD0.001
                         CONFIDENTIAL
                                                                                                                                                                                                                                                  119
                                           Certificate                                       Date Entered as       Date Ceased to                                                                       Amount Paid          Balance held
                           2023-10-11




                                                                                                                                                                                                                                            2023-10-11
                                                         Name and Address                                                                                          Notes
                                            Number                                              Member              be a Member
                                               1         INTL Media Holdings, LLC           23 Jul 2014                             23 Jul 2014: Transfer of 98200.00 Ordinary share(s) from Mr         Fully Paid    982,000.00
Main Document




                                                         2711 Centerville Road, Suite                                               Martin J Matthews to INTL Media Holdings, LLC for the total
                                                         400, Wilmington DE 19808,                                                  consideration of USD0.001
                                                         United States
                                               0         New South East Traders, Ltd.       30 Dec 2013             03 Nov 2020     30 Dec 2013: Allotment of 1,800,000.0 Preferred shares for          Fully Paid    0.00
                                                         Pease Estate, Road Town                                                    USD0.001 / share to New South East Traders, Ltd.
                                                         Tortola, Virgin Islands, British
                                                                                                                                    03 Nov 2020: transfer of 1,800,000 Preferred shares from New
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                                                                                                                                    South East Traders, Ltd. to Lequios Holdings Limited for valuable
                                                                                                                                    consideration.
                                              0          South Asia Ventures Ltd.           30 Dec 2013                             30 Dec 2013: Allotment of 1,800,000.0 Preferred shares for          Fully Paid    1,800,000.00
                                                         Pease Estate, Road Town,                                                   valuable to South Asia Ventures Ltd.
                                                         Tortola, Virgin Islands, British
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                                                                                                                                                                                                                                            Page 31 of 33
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                                               0         Lequios Holdings Limited           03 Nov 2020                             03 Nov 2020: Transfer of 1,800,000 Preferred shares from New        Fully Paid    1,800,000.00
                                                         c/o Vistra Corporate Services                                              South East Traders, Ltd. to Lequios Holdings Limited for valuable
                                                         Centre, Wickhams Cay II,                                                   consideration.
                                                         Road Town, Tortola, VG1110,
                                                         British Virgin Islands
                                                            Name                                                             Number and Class of Shares Held
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                         INTL Media Holdings, LLC                                           982,000.00         Ordinary
                         South Asia Ventures, Ltd.                                          1,800,000.00   Preferred
                         Lequios Holdings Limited                                           1,800,000.00   Preferred
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                           FSD2023-0300




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                         CONFIDENTIAL
                                                                                                                                                                                                                                       120
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       Register of Members: Ascentra Holdings, Inc.                                                                                                                Company Number:                  283719
       MEMBER NAME &                        DATE BECAME    RESOLUTION    SOURCE OF SHARES   # OF        CLASS OF   AMOUNT   CERT #   # OF SHARES    DISPOSSESSION           DATE OF                  TOTAL
       ADDRESS                              A MEMBER       (ISSUE/                          SHARES      SHARES     PAID              DISPOSSESSED   METHOD                  DISPOSSESSION            SHARE-
                                                           TRANSFER OF                      ACQUIRED                                                                                                 HOLDING
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                                                           SHARES)
       Jeffrey Lee Boshears                 12 Feb 2014                  Subscription       200,000     Ordinary   Full     002                     Subscription                                     200,000
       17 Del Carlo, Irvine CA
       92606, USA
                                            15 Aug 2015                  Subscription       150,000     Ordinary   Full     013                     Subscription                                     150,000
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       BALANCE OF SHARES                                                                                                                                                                             350,000
       INTL Media Holding, LLC              24 July 2014                 Subscription       2,400,000   Ordinary   Full     None                    Subscription                                     2,400,000
       2711 Centerville Road, Suite
       400, Wilmington, Delaware
       19808, USA
       BALANCE OF SHARES                                                                                                                                                                             2,400,000
       Ryosuke Kojima                       12 Feb 2014                  Subscription       400,000     Ordinary   Full     005                     Subscription                                     400,000
       31 Secret Garden, Irvine CA
       92620, USA
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       BALANCE OF SHARES                                                                                                                                                                             400,000
       Alex Oliva                           12 Feb 2014                  Subscription       50,000      Ordinary   Full     006                     Subscription
21-11854-dsj




       3741 Brilliant Place, Los
       Angeles, CA 90065, USA
                           FSD2023-0300




                                                                                                                                                                                                         FSD2023-0300
                                            24 July 2014                 Subscription       50,000      Ordinary            014                     Subscription
                                                                                                                                                                        Bell Rock Group Financial Services Limited
                                                                                                                                                                                   Centennial Towers, Suite 205C
                                                                                                                                                                                            2454 West Bay Road
                                                                                                                                                                                        Grand Cayman KY1-1303
                                                                                                                                                                                               CAYMAN ISLAND
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       BALANCE OF SHARES                                                                                                                                                                                            100,000
       IR-P Holdings, Inc.                  12 Feb 2014                     Subscription            4,582,000     Preferred                  P-001                      Subscription                                4,582,000
       c/o Bell Rock Group Financial
       Services Limited, Centennial
       Place, 205c, 2454 West Bay
       Road, Grand Cayman, KY1-
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       1303, Cayman Islands
       BALANCE OF SHARES                                                                                                                                                                                            4,582,000
        Share Capital
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       CLASS                                    CURRENCY   AUTHORISED         NUMBER OF SHARES         PAR        NUMBER OF            VOTING RIGHTS – CONDITIONAL
                                                           CAPITAL            AUTHORISED               VALUE                           OR UNCONDITIONAL
                                                                                                                  SHARES ISSUED
       Ordinary                                 USD        $50,000            45,418,000               0.001      3,250,000            Unconditional
       Preferred                                USD        As above           4,582,000                0.001      4,582,000            Conditional
        Registered Office:                                            Bell Rock Group Financial Services Limited, Centennial Towers, 205c,
                                                                      2454 West Bay Road, Grand Cayman, KY1-1303, Cayman Islands
        Incorporation Date:                                           20 December 2013
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        Company Registration Number:                                  283719
        Date of Execution of Memorandum of Association                20 December 2013                                                               A&R 12 June 2018
        Date of Filing of Memorandum of Association                   20 December 2013                                                               A&R 12 June 2018
        Nature of Business                                            Headquarters Business
        Financial Year End                                            31 December
21-11854-dsj
                           FSD2023-0300




                                                                                                                                                                                                                        FSD2023-0300
                                                                                                                                                                                       Bell Rock Group Financial Services Limited
                                                                                                                                                                                                  Centennial Towers, Suite 205C
                                                                                                                                                                                                           2454 West Bay Road
                                                                                                                                                                                                       Grand Cayman KY1-1303
                                                                                                                                                                                                              CAYMAN ISLAND
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